Case 10-55041-gvvz Doc 1 Entered 12/30/10 16:52:48 Page 1 of 22'
BJ_LQ£t'imL.Em~.mJ)M/w\

 

 

 

 

' United States Bankruptcy Court . .
District of N.evada Voluntary Petltlon
Name of Debtor (if individual, enter Last, First, Middle): Name of Joint Debtor (Spouse) (Last, First, Middle):
THE BANK HOLD|NGS
All Other Naines used by the Debtor in the last 8 years All Otlier Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names): (include married, maiden, and trade names):

 

Last four digits of Soc. Sec. or Individual-Taxpayer IrD. (ITIN) No./Complete EIN Last four digits of Soc. Sec. or Individual-Taxpayer l.D. (ITIN) No./Complete EIN

 

 

 

 

 

 

 

 

 

 

 

(it` more than one, state all) (it`more than one, state all)
90-0071 778
Street Address of Debtor (No. and Street, City, and State): Street Address of Joint Debtor (No. and Street, City, and State):
9990 Doub|e R Bou|evard
1 Reno, NV
ZIP Code ZIP Code
l 89521
County of Residence or of the Principal Place of Business: _ County of Residence or of the Principal Place of Business:
Washoe
Mailing Address of Debtor (if different from street address): Mailing Address of Joint Debtor (if different from street address):
1130 Harvey Lane
Reno, NV
ZIP Code ZIP Code
89509
Location of Principal Assets of Business Debtor 9990 Double R Bou|evard
(if different from street address above): Reno’ NV 89521
Type of Debtor Nature 0f BuSineSS Chapter of Bankruptcy Code Under Which
(Form of Organization) (Check one box) the Petition is Filed (Check one box)
(Check one box) § IS-leal:h Care Busilness d - Chapter 7
in e Asset Rea Estate as define ' ' ' '
l:l lndividual (includes Joint Debtors) in 1g1 U S C § 101 (5113) |:| Chapter 9 |:| Chapter 1.5 Pemion for Rec.()gnmon
_ v _ _ - ~ - m Chapter 11 ofa Foreign Main Proceeding
See Exhibit D on page 2 of this form. I:| Railroad . . . .
- C t. . l d LLC d LLP 1:1 Stockbroker I:I Chapter 12 l:l Chapter 15 Petition for Recognition
orpora ion (inc u es all ) n Commodity Bmker |:1 Ch.dpter 13 of a Foreign Nonmain Proceeding
n Partnershlp l:] Clearing Bank .
I:l O'ther (l_f debtor is not one of the above eiitities, - ther Nature of Debts
check this box and state type of entity below.) (Check one box)
Tax-Exempt Entity ‘
(Check box) if app\icable) I:I Debts are primarily consumer debts, - Debts are primarily
|:| Debtor is a tax_exempt Organization defined in ll U.S.C. § 101(8) as business debts.
under Title 26 Of the United S[ates "incurred by an individual primarily for
Code (the lntemal Revenue Code)_ a pei'sonal, family, or household purpose."
Filing Fee (Check one box) Check cme box: Chapter ll Debtors
- Full pilng Fee attached m Debtor is a small business debtor as defined in l l UiS.C. § 101(51D).

_ . _ _ . _ 4 , _ I:l Debtor is not a small business debtor as defined in ll U.S.C. § lOl(SlD).
I:l Filiug Fee to be paid iii installments (applicable to individuals only). Must Check if: 7

attach signed application for the court‘s consideration certifying that the _, . . . . . . . .
debtor is unable to pay fee except in installments_ Rule 1006(1))_ See Ochial l:l Debtoi s aggregate noncoiitingent liquidated debts (excluding debts owed to insiders or affiliates)

Fm_m 3A are less than $2,343,300 (ammml subject lo adjustment on 4/0[/13 and every Ihi'ee years thereafte/j.

 

Check all applicable boxes:
l:l A plan is being filed with this petition.

m Acceptances of the plan were solicited prepetition from one or more classes of creditors,
in accordance with ll U.S.C. § 1126(b).

I:I Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
attach signed application for the court's consideration See Official Forin 3B.

 

 

Statistica|/Administrative Information THIS SPACE lS FOR COURT USE ONLY
I:l Debtor estimates that funds will be available for distribution to unsecured creditors.

l Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
there will be no funds available for distribution to unsecured creditors.

 

Estimated Number of Creditors

 

 

l:l l:l l:| ij l:| l:l l:l |:| |:|
l- 50- lOO- 200- 1,000- 5,001- l0,00l- 25,001- 50,001- OVER
49 99 199 999 5,000 10,000 25,000 50,000 lO0,000 100,000
Estimated Assets _ '
[l |:| l |:| |:| |:l l:| |:| I:l El
$O to $50,001 tO $100,001 to $500,001 $1,000,001 $l0,000,00l $50,000,001 $100,000,0()1 $SO0,000,00l MOre than
$50,000 $100,000 $500,000 to $l to $lO to $50 to $100 to $500 to $l billion $l billion
million million million million million
Estimated Liabilities 1
l:| |:l |:l |:l l I:| |:l I:| l:l
$O 10 550,001 to $100,001 to $500,001 $1,000,001 $l0,000,0()l $50,000,001 $100,000,001 $500,000,00| More than
$50,000 $lO0,000 $500,000 10 $l to $10 to $50 to $lOO to $50() to $l billion $l billion

million million million million million

 

 

 

 

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Bl (Ofticial Form 1)(4/10) Page 2

 

~ - Name of Debtor(s):
Voluntary Petition THE BANK HOLD|NGS

(T his page must be completed andfz`led in every case)

 

All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)

 

 

Location Case Number: Date Filed:
Where Filed: _ None -
Location Case Number: Date Filed:

Where Filed:

 

Pending Bankruptcy Case Filed by any Spouse, Partner, or Afiiliate ofthis Debtor (lf more than one, attach additional sheet)

 

 

 

 

Name of Debtor: Case Number: Date Filed:
- None -
District: Relationship: Judge:
Exhibit A Exhibit B
(To be completed if debtor is an individual whose debts are primarily consumer debts.)
(To b`e completed if debtor is required to tile periodic reports (e.g., I, the attorney for the petitioner named in the foregoing petition, declare thatI
forms 1()K and 1()Q) With the Securitieg and Exchange C_Ommissi()n have informed the petitioner that [lie or she] may proceed under chapter 7, l 1,

pursuant to Section 13 OI. 15(d) Of the Securities Exchange Act Of 1934 12, or 13 of title 11, United States Code, and have explained the relief available
and is requesting relief under chapter 11 ) under each such chapter. I further certify thatI delivered to the debtor the notice

required by 11 U.S.C, §342(b).
I] Exhibit A is attached and made a part of this petition. X

 

Signature of Attorney for Debtor(s) (Date)

 

 

Exhibit C
Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

I:l Yes, and Exhibit C is attached and made a part of this petition.
- No.

 

Exhibit D
(To be completed by every individual debtor. If ajoint petition is iiled, each spouse must complete and attach a separate Exhibit D.)

111 Exhibit D completed and signed by the debtor is attached and made a part of this petition.
If this is a joint petition:
l:| Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

 

lnformation Regarding the Debtor - Venue
(Check any applicable box)
l Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District,
[1 There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District,

l:l Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
this District, or has no principal place of business or assets in the United States but is a defendant in an action or
proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
sought in this District.

 

Certiiication by a Debtor Who Resides as a Tenant of Residential Property
(Check all applicable boxes)

E| Landlord has a judgnient against the debtor for possession of debtor's residence (If box checked, complete the following.)

 

(Name of landlord that obtained judgment)

 

(Address of landlord)

|:| Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

El Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
alter the filing of the petition.

I:l Debtor certifies that he/she has served the Landlord with this certification (11 U.S.C. § 362(1)).

 

 

 

 

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Signature(s) of Debtor(s) (Individual/Joint)

I declare under penalty of perjury that the information provided in this
petition is true and correct

[I.f petitioner is an individual whose debts arc primarily consumer debts and
has chosen to tile under chapter 7] I am aware that l may proceed under
chapter 7, ll, 12, or 13 of title 11, United States Codc, understand the relief
available under each such oheptcr, and choose to proceed under chapter 7.
[lf no momey represents me and no bankruptcy petition preparer signs the
petition] I have obtained and read the notice required by ll U,S.C. §342(1')).

I request relief in accordance with the chapter of title 11, United States Code,
specified in this petition

 

Signature of Debtor

 

Signah.ire of Joint Debtor

 

'l`elcphone Number (If not represented by attomcy)

 

Date

31 sumner nom 1314/101 7 w U
' ‘ Name ofDebtor(s): -
V°l"“tary Pem'°n THE BANK HoLDlNcs
(771:'.\‘ page must be completed and filed in every case)
Signatures

Signnture of n Foreign Represenoative

I declare under penalty of perjury that the information provided in this petition
is true and correct, that I am the foreign representative cfa debtor in a foreign
pmcceding, and that l am authorized to file this petition

(Check only one box.)

[] I request relief in accordance with chapter 15 of title 11. United Statcs Code.
Certified copies ofthc documents required by 11 U.S.C. §1515 are attached

[] Pursua.ntto 11 U.S.C. §1511, I request relief in accordance with the chapter
of title ll specified in this petition A codified copy of the order gaming
recognition of'Lhe foreign main proceeding is attached

X

 

Signature of Forcign Represcntativc

 

Printed Name of Foreign Ropresontntive

 

Date

 

 

S inure of Atbo *

 

 

Signature of Attomcy for Debtor(s)

Rich§[d F. Hollev 003077
Printed Name ofAttomey for Debtor(s)

Santoro Drlggs Walch Kearney Hol|ey & Thgrgpson
Finn Name

400 South Fourth Street

Thlrd Floor

Las Vegas, NV 89101

 

Address

702.791.0308 » Fax: 702.791.1912
Tclcphone Numbcr

 

Date

*In a case in which § 707(b)(4)(D) a.pplies, this signature also constitutes a
codification that the attorney has no knowledge after an inquiry that the
information in the schedules is incorrect

 

Signature of Debtor (Corporatlon/P`artnership)

l declare under penalty of perjury that the information provided in this
petition is true and correct, and that I have been authorized to file this petition
on behalf of the debtor.

Thc debtor re ests elief in accordance with the chapter of title 11, United
stanley %d/in wis pay
x MQ
Sigr"iaturc of Authorized Individua.l
Jack Buchold
Pn'ntcd Name of Auihorized Individunl

Chief Financial Officer
Title ofAnthon'zed Individua.l

 

Date

 

Signature of Non-Attomcy Bankruptcy Petition Prepiu~er

I declare under penalty of perjury that: (l) lam a bankruptcy petition
preparer as defined in 11 U.S.C. § 110; (2)1 prepared this document for
compensation and have provided the debtor with a copy of this document
and the notices and information mquired under 11 U.S.C. §§ 110(b),
llO(h), and 342(b); and, (3) if rules or guidelines have been promulgated
pursuant to ll U.S.C. § lIO(h) setting a maximum fee for services
chargeable by bankruptcy petition prcparors, l have given the debtor notice
of the maximum amount before preparing any document for filing for a
debtor or accepting any fee from the debtor, as required in that section
OHicial Form 19 is attached

 

Printed Name and title, if sny, of Bankruptcy Petition Pieparer

 

Social-Security number (lf the bankrutpcy petition preparer is not
an individual, state the Social Sccurity number of the ofiicer,
principal, responsible person or partner of the bankruptcy petition
preparcr.)(chuircd by 11 U.S.C. § 110.)

 

Address

X

 

 

Date

Signature of Banknrptcy Petition Proparer or ofiicer, principaL responsible
person,or palmer whose Social Security number is provided above.

Names and Social-Security numbers of all other individuals who prepared or
assisted in preparing this document unless the bankruptcy petition preparer is
not an individua|:

lfmoro than one person prepared this document, altach additional sheets
conforming to the appropriate official form for each person

A bankruptcy petition preparer 's failure to comply with the provisions of
title 11 and the Federal Rule.r ofBa)zkmptcy Procedure may resqu in
fines or imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.

 

 

 

 

, it

 

 

 

ease 1055@41@\~ DOC 1 sneed 1213@/10165248 "PHQ€ "1

 

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M.jtai§en be ore mesa resolutions ware Lamf“ed, are hereby 111 1111 respec 111111

   

   

 

 
  
  
 

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issistant €nrpcrnra he€retary of The Bank iloidings ij“the Compsn§ f an
1 "‘nat:` died f the vest and records cf tire Cnmpamr, and ‘ '

   

     
   
 
  

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BG Summary (Official Form 6 - Summary) (12/07)

United States Bankruptcy Court
District of Nevada

In re THE BANK HOLD|NGS Case NO.

 

 

Debtor
Chapter 7

SUMMARY OF SCHEDULES

Indicate as t0 each Schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
B, D, E, F, I, and J in the boxes provided Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilitics. Individual debtors must
also complete the "Statistical Summary of Certain Liabilities and Rclated Data" if they file a case under chapter 7, ll, or 13.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

NAME oF SCHEDULE ATTACHED NO' OF ASSETS LIABlLITIES oTHER
(YES/NO) SHEETS
A - Real Property Yes 1 0'00
B _ Personal Property Yes 4 237,781.30
C - Property Claimed as Exempt No 0
D - Creditors Holding Secured Claims Yes 1 , _ 1 0‘00
E - Creditors Holding Unsecured Yes 1 " ` " ` 1 f ~` 1 0_00
Priority Claims (Toral ofclaims on schedule E) 1
F - Creditors Holding Unsecured Yes 5 1 _ 1 1 20,783,100_72
Nonpriority Claims " , ` ' ~
G - Executory Contracts and Yes 1
Uncxpired Leases
H - Codebtors Yes 1
l- Current Income of Individual No 0 ` ~ 1 ~ b ~: 1 > 1 j 1 1 1 l N/A
Debtor(s) ~ ’ ' ~ ` ' ` ~ ~ 1 ' .
J - Current Expenditures of Individual No 0 _ :“_ _` 71 7 ’ 1 `_ ; 1 1 ` `_ N/A
Debtor(s) y " ` ` q _ ~ ~~ 1
Total Number of Sheets of ALL Schedules 14
Total Assets 237'781'30
rural Liabilities 2°»733’1°°-72

 

 

 

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Form 6 ~ Statistical Summary (12/07)

United States Bankruptcy Court
District of Nevada

ln re THE BANK HOLD|NGS Case No.

 

 

Debtor
Chapter 7

STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (ll U.S.C.§ 101(8)), filing
a case under chapter 7, ll or l3, you must report all information requested below.

|:l Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
report any information here.

This information is for statistical purposes only under 28 U.S.C. § 159.
Summarize the following types ofliabilities, as reported in the Schedules, and total them.

 

Type of Liability Amount

 

Domestic Support Obligations (from Schedule E)

 

Taxes and Certain Other Debts Owed to Governmental Units
(from Schedule E)

 

Claims for Death or Personal Injury While Debtor Was Intoxicated
(from Schedule E) (whether disputed or undisputed)

 

Student Loan Obligations (from Schedule F)

 

Domestic Support, Separation Agreement, and Divorce Decree
Obligations Not Reported on Schedule E

 

Obligations to Pension or Prot`lt-Sharing, and Other Similar Obligations
(from Schedule F)

 

TOTAL

 

State the following:

 

Average Income (from Schedule l, Line 16)

 

Average Expenses (from Schedule J, Line 18)

 

Current Montlily Income (from Form 22A Line 12; OR,
Form 22B Line ll; OR, Form ZZC Line 20 )

 

State the following:

l. Total from Schedule D, "UNSECURED PORTION, IF ANY"
column

2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
column

3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
PRIORITY, IF ANY" column

 

 

 

 

4. Total from Schedule F

 

5. Total of non-priority unsecured debt (sum of 1, 3, and 4)

 

 

 

 

 

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B6A (Off'lcial Form 6A) (12/07)

In re THE BANK HOLD|NGS Case No.
Debtor

 

 

SCHEDULE A - REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If` the debtor holds no interest in real property, write "None" under
"Description and Location ofProperty."

Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

lf an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. li` no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Arnount of Secured Claim." lf the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C ~ Property Claimed as Exempt.

 

. Current Value of
Husband, Debtor's lnterest in

 

 

a“d °f … fha W~i::’@ ma … mdf
Commiinity Dedu.ctmg any S€C_ured
Clalm or Exemptlon
None
Sub-Total > 0.00 (Total of this page)
TOtai > 0-00

0 continuation sheets attached to the Schedule of Real Property (Report also en Summary Of Schedules)

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Case 10-55041-gvvz

363 (ofncial Form 63) (12/07)

In re

THE BANK HOLD|NGS

Case No.

 

Debtor

SCHEDULE B - PERSONAL PROPERTY

Except as directed below, list all personal property of the debtor of whatever kind. lf the debtor has no property in one or more of the categories, place

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an "x" in the appropriate position in the column labeled "None." It` additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." Ifthe debtor is an individual or ajoint
petition is tiled, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

Unexpired Leases.
If the propelty is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, ll U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and

 

 

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l(\)l Hus_bfand, b Current Val_ue of
Type of Property N Description and Location of Property JWOiln:’ Or De“;§{l;l{€t]§reedsltlclgn;r;§;ny’
E Community Secured Claim or Exemption
l. Cash on hand X
2. Cnecl<ing, savings mother financial Business Checking at Umpqua Bank (formerly - 68,046.04
ncccunts, certificates cfdcpcsit, cr Nevada Security Bank and its Ca|ifornia division,
shares in banks, savings and loan, Si|Vel‘adO Bank), 9990 Double R Bou|evard, RenO,
thrift, building and loan, and Nevada 89521
homestead associations, or credit
UHiOHS, brOk€fag€ hOUS€S, Or Business checking at Pacific Coast Bankers Bank, - 41,825.89
COOP@rath€S- 340 Pine Street, Suite 401, San Francisco, Caiifornia
94104
3_ Security deposits With public Corporate office prepaid lease for month of January - 8,841_18
utilities, telephone companies, 2011 for non-residential property at 9990 DOUble R
landlords ann others Bou|evard, Reno, Nevada
Security deposit with RR Bou|evard |nvestments, - 7,814.32
5310 Kietzke Lane, Suite 102, Reno, Nevada 89511
4. Household goods and furnishings, X
including audio, video, and
computer equipment
5. Books, pictures and other art X
objects, antiques, stamp, coin,
record, tape, compact disc, and
other collections or collectibles.
6. Wearing apparel. X
7. Furs and jewelry. X
8. Firearms and sports, photographic, X
and other hobby equipment
9_ interests in insurance policies Directors and Officers Liability Po|icy issued by - Unknown
Name insurance company ()feach LeXingtOn lnSUl'anCe, independent Banke|'S
policy and itemize Surrender 01' insurance Sel'ViCeS, P.O. BOX 1690, Chandlel',
refund value of each_ AriZOna 85244, With policy limits Of $3,000,000, and
an expiration date of May 31, 2011
Sub-Total > 126,527.43
(Total of this page)
3 continuation sheets attached to the Schedule of Personal Property

Besl Case Bankruptcy

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B6B (Off`lcial Form 6B) (12/07) - Cont.

ln re THE BANK HOLD|NGS Case No.

 

 

Debtor

SCHEDULE B - PERSONAL PROPERTY

(Continuation Sheet)

 

 

I(\)I H&sbfand, D b CurIrent Value[pf`
- - - i e, e tor's nterest in roperty,
Type of Property N Descrlptlon and Locatlon of` Property Joint, Or Without Deducting any
E Community Secured Claim or Exemption
Employment Practices Liability insurance Po|icy - Unknown
issued by Lexington |nsurance, lndependent
Bankers insurance Services, P.O. Box 1690,
Chand|er, Arizona 85244, with policy limits of
$1,000,000, and an expiration date of May 31, 2011
Commercial insurance package issued by - Unknown
OneBeacon, lndependent Bankers insurance
Services, P.O. Box 1690, Chand|er, Arizona 85244,
with varying policy limits and an expiration date of
April 30, 2011
lO. Annuities. Itemize and name each X
issuer.
ll. Interests in an education IRA as X
defined in 26 U.S.C. § 530(b)(l) or
under a qualified State tuition plan
as defined in 26 U.S.C. § 529(b)(1).
Give particulars (File separately the
record(s) of any such interest(s).
ll U.S.C. § 521(c).)
12_ interests in iRA, ERISA, Keegn, er 401(K) administered on behalf of employees and - 0.00
other pension or profit Sharing has rlO interest Termil"lated Plarl.
plans. Give particulars
13_ Steek 21nd interests in incorporated The Bank Ho|dings Statutory Trust |, a Connecticut - Unknown
and unincorporated businesses_ Statutory trust Which Wa$ formed in November 2005
itemize solely to facilitate the issuance of variable rate

capital trust pass through securities.
Trustee: Pau| D. A|len

US Bank

Corporate Trust Services

One Federa| Street 3rd F|oor
Boston, MA 02110

Northern Nevada Bank Ho|dings Statutory Trust, - Unknown
which was formed in June 2005 as a subsidiary of
NNB Ho|dings, |nc. and was acquired by the
Company in the merger with NNB Ho|dings, |nc.
NNB Ho|dings Statutory Trust l is a De|ware
Statutory Trust also formed to facilitate the
issuance of capital trust pass through securities.
Trustee: Christopher J. S|aybaugh, CCTS
Wi|mington Trust Company

1100 North Market Street

Wi|mington, DE 19890

 

Sub-Total > 0.00
(Total of this page)

Sheet 1 of 3 continuation sheets attached

to the Schedule of` Personal Property

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B6B (Official Form 6B) (12/07) - Cont.

In re THE BANK HOLD|NGS Case No.

 

 

Debtor

SCHEDULE B - PERSONAL PROPERTY

(Continuation Sheet)

 

 

l(\)l H&sbfand, b CurrentValue of`
. . . ' D ' '
Type of Property N Descrlptlon and Locatlon of Property Joiln:’ Or eve§;;g{lt§;c:isltlcl§n:r;§;rty’
‘ E Community Secured Claim or Exemption
Nevada Security Bank and its California division - Unknown

Si|verado Bank

9990 Doub|e R Bou|evard

Reno, Nevada 89521

100 shares (100%) of common stock

l4. lnterests in partnerships or joint X
ventures ltemize.

l 5_ Governrnent and corporate bonds Trust Preferred Securities - AFS - Va|ue unknown - Unknown

and other negotiable and
nonnegotiable instruments

l6. Accounts receivable X

17. Alimony, maintenance, support, and X
property settlements to which the
debtor is or may be entitled. Give

particulars

lg_ Other liquidated debts owed to debtor 2010 estimated Ca|ifornia Franchise Tax Board - 4,000.00
including tax refunds Give particulars refund

l9. Equitable or future interests, life X

estates, and rights or powers
exercisable for the benefit of` the
debtor other than those listed in
Schedule A - Real Property.

20. Contingent and noncontingent _ X
interests in estate of a decedent,
death benefit plan, life insurance
policy, or trust.

zi. Other contingent and unliquidated Net Operating Loss in the amount of $38,000,000 - Unknown
claims of` every nature, including (2007, 2003, 2009)
tax refunds, counterclaims of the
debtor, and rights to setoff claims Potential claims, if any, against Board Members, - Unknown
Give estimated value of each. Officers and/or Directors
Potential claim against FD|C and U.S. Treasury - Unknown

Department relating to Capital Assistance Program
and Capital Purchase Program App|ications

Ju|y 2010 and August 2010 rent from FD|C arising - 15,628.64
from occupancy and lockout of property located at

9990 Doub|e R Bou|evard, Reno, Nevada 89509

($7,814.32 per month for two (2) months)

 

Sub-Total > 19,628.64
(Total of` this page)

Sheet 2 of 3 continuation sheets attached

to the Schedule of Personal Property

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BGB (Official Form 6B) (12/07) - Cont.

In re THE BANK HOLD|NGS

Case No.

22

 

 

Debtor

SCHEDULE B - PERSONAL PROPERTY

(Continuation Sheet)

 

Type of Property

Husband,

Description and Location of Property Joint Or

Current Value of

Wife, Debtor's Interest in Property,

without Deducting any

Community Secured Claim or Exemption

 

22.

23.

24.

25.

26.

27.

28.

29.

30.

31,

32.

33.

34.

35.

Patents, copyrights, and other
intellectual property, Give
particulars

Licenses, franchises and other
general intangibles Give
particulars

Customer lists or other compilations
containing personally identifiable
information (as defined in ll U.S.C.
§ lOl(4lA)) provided to the debtor
by individuals in connection with
obtaining a product or service from
the debtor primarily for personal,
family, or household purposes

Automobiles, trucks, trailers, and
other vehicles and accessories

Boats, motors, and accessories
AircraR and accessories

Office equipment, furnishings, and
supplies

Machinery, fixtures equipment, and
supplies used in business
Inventory.

Animals.

Crops - growing or harvested. Give
particulars

Farlning equipment and
implements

F arm supplies, chemicals and feed.

Other personal property of any kind
not already listed. ltemize.

>< t'l'JZOZ

 

Sheet 3 of 3 continuation sheets attached

to the Schedule of Personal Property

130 URL Domain Names - Unknown
Office equipment, furnishings and supplies - 41,625.23
9990 Doub|e R Bou|evard
Reno, NV 89521
Retainer in the amount of $30,000 submitted to - 50,000.00
Find|ey & Associates, 1470 N. Hund|ey Street,
Anaheim, CA 92806, in 2010
Retainer in the amount of $20,000 submitted to
CBlZ/MHM, 2 Venture, Suite 450, lrvine, CA 92618 in
2010 (retainer refund requested)
Sub-Total > 91 ,625.23
(Total of this page)
Total > 237,781.30
(Report also on Summary of Schedules)

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Best Case Bankruptcy

 

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363 tofrn~.inl Form 63) (12/07)

In re

THE BANK HOLD|NGS

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Case No.

 

Debtor

 

SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

State the name, mailing address including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
tlle date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments statutory liens mortgages deeds of trust, and

other security interests

List creditors in alphabetical order to the extent practicable If a minor child is a creditor, the child's initials and the name and address of the child's parent or
guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, ll U.S.C. §112 and Fed. R. Bankr. P. 1007(m). lf all secured
creditors will not fit on this page, use the continuation sheet provided.

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
schedule of creditors and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, botll of them, or the marital community may be
liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".

If the claim is contingent, place an "X" in the column labeled "Contingent". lf the claim is unliquidated, place an "X" in tlle column labeled "Unliquidated". lf the
claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one oftllese three columns.)

Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
primarily consumer debts report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.

- Check this box if debtor has no creditors holding secured claims to report on this Schedule D.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CREDITORS NAME 3 Husband, V\hfe, Jointl or Community 3 H :) AMOUNT OF
AND MArLrNG ADDRESS § H DArE CLAll\/l WAs lNCURRED, n t g WCI%§(%T UNSECURED
AND ACCOUNT NUMBE’R T .l DESCRIPTION AND VALUE N u T VALUE OF ANY
(See instructions above ) CR) C OF PROPERTY § i? § COLLATERAL
' SUBJECT TO LIEN N A
Account No. T §
D
Value $
Account No.
Value $
Account No.
Value $
Account No.
Value $
Subtotal
0 . .
contlnuatlon sheets attached (Total Ofthis page)
T<>fal o.oo o.oo

(Report on Summary of Schedules)

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Besl Case Bankruptcy

 

 

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In re THE BANK HOLD|NGS Case No.
Debtor

 

 

SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
to priority should be listed in this schedule. ln the boxes provided on the attached sheets state the name, mailing address including Zip code, and last four digits ofthe
account number, if any, of all entities holding priority claims against the debtor or the property ofthe debtor, as ofthe date of the filing of the petition. Use a separate
continuation sheet for each type of priority and label each with the type of priority.

The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
so. Ifa minor child is a creditor, state the child's initials and the name and address ofthe child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
Do not disclose the child's name. See, ll U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

lf any entity other than a spouse in ajoint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
schedule of creditors and complete Schedule H-Codebtors lf a joint petition is filed, state whether tlle husband, wife, both of them, or the marital community may be
liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
column labeled "Contingent." lf the claim is unliquidated, place all "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
"Disputed." (You may need to place an "X" in more than one of these three columns)

Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in tlle box labeled
"Total" on the last sheet ofthe completed schedule. Report this total also on the Summary of Schedules

Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
also on the Statistical Summary of Certain L iabilities and Related Data.

Report the total of amounts not entitled to priority listed on each street in tlle box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
priority listed on this Schedule E in __the box labeled "Totals" on the last sheet of tlle completed schedule. Individual debtors with primarily consumer debts report this
total also on the Statistical Summary of Certain Liabilities and Related Data.

l Check this box if debtor has no\creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

l:l Domestic support obligations

Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in ll U.S.C. § 507(a)(1).

l:l Extensions of credit in an involuntary case

Claims arising in the ordinary course of the debtor's business or financial affairs afier the commencement of the case but before the earlier of the appointment of a
trustee or the order for relief. ll U.S.C. § 507(a)(3).

|:| Wages, salaries and commissions

Wages, salaries and commissions including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business whichever
occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

\:I Contributions to employee benefit plans

Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business
whichever occurred first, to tlle extent provided in 11 U.S.C. § 507(a)(5).

l:l Certain farmers and fishermen
Claims of certain farmers and fishermen, up to $5,775* per farlner or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

l:l Deposits by individuals

Claims of individuals up to $2, 600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
delivered or provided. 11 U. S. C. § 507(a)(7)

|:| Taxes and certain other debts owed to governmental units
Taxes, customs duties and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

\:l Commitments to maintain the capital of an insured depository institution

Claims based on commitments to tlle FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
Reserve System, or their predecessors or successors to maintain the capital of an insured depository institution. ll U.S.C. § 507 (a)(9).

|:I Claims for death or personal injury while debtor was intoxicated

Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
another substance 11 U.S.C. § 507(a)(10).

* Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced art or after the date of adju.\'h)iem.

0 continuation sheets attached

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In re THE BANK HOLD|NGS Case No.

 

 

Debtor

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

State the name, mailing address including zip code, and last four digits of any account number, of` all entities holding unsecured claims without priority against the
debtor or the property of the debtor, as of the date of` filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of` the child's
parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, ll U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
include claims listed in Schedules D and E. [f all creditors will not fit on this page, use the continuation sheet provided.

If` any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
schedule of creditors and complete Schedule H - Codebtors. If` a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wif`e, Joint, or Community."

If the claim is contingent, place an "X" in the column labeled "Contingent." lf the claim is unliquidated, place an "X" in the column labeled "Unliquidated." lf the
claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
Schedules and, if the debtor is an individual with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

l:] Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CREDITOR'S NAME, g Husband, V\hte, Jointl or Community g H P
MAILING ADDRESS § H DATE CLAIM WAs 1NCURRED AND ¥' .L §
AI§§IA%%YSNZTI§%(§A%EER B W CONSIDERATION FOR CLAIM~ IF CLAIM ' ° U AMoUNT oF CLAIM
. . § J rs sUBJECT To sEToFF, so sTATE. § ,U §
(See 1nstruct10ns above.) R C E D D
N A
AccountNo. . Anticipated indemnification claim (Nevada T §
Security Bank and its Ca|ifornia Division o
Bob Barone Si|verado Bank)
8630 Techno|ogy Way, Suite A - X X
Reno, NV 89521
Unknown
Account No. February 2007
Tax and auditing services
CB|ZlMHM
Attn: Wi||iam F. Carter, CPA - X X
2 Venture, Suite 450
lrvine, CA 92618
Unknown
Account No. November 2005 .
The Bank Ho|dings Statutory Trusti (inc|udes
Attention Paul D. Auen, Trustee - debt '" the amount °f $464,°°0)
One Federa| Street, 3rd F|oor
Boston, MA 02196-0778
15,464,000.00
Account No. v Anticipated indemnification claim (Nevada
Security Bank and its Ca|ifornia Division
David A_ Funk Silvel'adO Bank)
3290 Piazzo Circle - X X
Renol NV 89502
Unknown
4 ' ' h t tr h d Subt°tal 15 464 000 00
continuation s ee s a ac e (Total Of this page) , , .

 

 

 

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In re THE BANK HOLD|NGS Case No.
, Debtor
SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
- (Continuation Sheet)
CREDITORS NAME’ g Husband,Wife,Joint,orCommunity 3 tri ||J
D S
MAIL!NG ADDRESS E H DATE CLAIM WAS INCURRED AND il lL P
AI§SK%BYSNZTHI:HCJ(§/t’izli§n i \JN CONSIDERATION FOR CLAIM~ IF CLAIM h 3 f AMoUNT oF CLAIM
. . 0 c lS SUBJECT TO SETOFF, SO STATE. c l E
(See rnstructlons above.) R E D D
N A
AccountNo. Anticipated indemnification claim (Nevada T §
Security Bank and its Ca|ifornia Division D
Ed A||ison Silverado Bank)
13340 Domante View Lane - X X
Reno, NV 89511
Unknown
AccountNo. Anticipated indemnification claim (Nevada
Security Bank and its Ca|ifornia Division
12955 Thunderbo|t Drive ' X X
Reno, NV 89511
Unknown
Account No. Nevada Security Bank and its Ca|ifornia
subdivision Si|verado Bank - Demand for
FD|C Payment of Civi| Damages and Wrongful Acts
40 Pacifica, Suite 116F ~
lrvine, CA 92618
0.00
Account No. February 2001
Attorney services
Find|ey & Associates
Attn: Debra Barbin - X X
1470 N. Hund|ey Street
Anaheim, CA 92806
Unknown
AccountNo. Anticipated indemnification claim (Nevada
Security Bank and its Ca|ifornia Division
Ha] Gi°mi Si|verado Bank)
P.O. Box 10657 - X X
Zephyr Cove, NV 89448
Unknown
Sheet no. 1 of 4 sheets attached to Schedule of Subtotal 0 00

Creditors Holding Unsecured Nonpriority Claims

(Total of this page)

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B6F (Ot`t`icial Form 6F) (12/07) - Cont.

In re THE BANK HOLD|NGS

Case No.

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Debtor

SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CREDITOR,S NAME, g Husband, Wife, Jointl or Community g H :J
D . N L s
MA!LING ADDRESS E H DATE CLAIM WAS TNCURRED AND T l P
AI§§IA%?:ICI)\I€NZTI§ICJ(§A%E§R 'i `JN CONSIDERATION FOR CLAIM~ IF CLAIM 'N 3 Lf AMoUNT oF CLAIM
. . 0 IS SUBJECT TO SETOFF, SO STATE. o l E
(See lnstructions above.) R C E D D
N A
AccountNo. Anticipated indemnification claim (Nevada T §
Security Bank and its Ca|ifornia Division D
Jack Bucho|d Silverado Bank)
1130 Harvey Lane ' X X
Reno, NV 89509
7 Unknown
AccountNo. Anticipated indemnification claim (Nevada
Security Bank and its Ca|ifornia Division
Jesse Haw Silverado Bank)
144 Greenridge Drive - X X
Reno, NV 89509
Unknown
AccountNo. Anticipated indemnification claim (Nevada
Security Bank and its Ca|ifornia Division
974 Fairway Park Drive - X X
|ncline Village, NV 89450
Unknown
AccountNo. Anticipated indemnification claim (Nevada
Security Bank and its Ca|ifornia Division
John Donovan Silverado Bank)
14860 Corsica Court - X X
Reno, NV 89511
Unknown
AccountNo. Anticipated indemnification_claim (Nevada
Security Bank and its Ca|ifornia Division
643 John Fremont Drive - X X
Reno, NV 89509
Unknown
Sheet no. 2 of 4 sheets attached to Schedule of Subtotal 0 00

Creditors Holding Unsecured Nonpriority Claims

(Total of this page)

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In re THE BANK HOLD|NGS Case No.
Debtor
SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
(Continuation Sheet)
CREDITORS NAME, g Husband, Wifel Joint, or Community 8 H |D
D N L S
MAILING ADDRESS E H DATE CLAIM WAS INCURRED AND T l P
AWSIA%%I§€NZTI§IICJ(§/iis]i§i< ii \JN CONSIDERATION FOR CLAIM' IF CLAIM 'N 3 il AMOUNT oF CLAIM
. . 0 C IS SUBJECT TO SETOFF, SO STATE. c i E
(See instructions above.) R g [ D D
N A
Account No. Anticipated indemnification claim (Nevada T §
Security Bank and its Ca|ifornia Division D
Ken Achurra Silverado Bank)
1920 Feather Glen Court ~ X X
Reno, NV 89523
Unknown
Account No. Anticipated indemnification claim (Nevada
Security Bank and its Ca|ifornia Division
Marybe| Batjer Silverado Bank)
3925 Skyline Drive ~ X X
Reno, NV 89509
Unknown
Account No. 2005
Accounting Services 2010
Moss Adams LLP
Attn: Denise Cahil|, CPA ' X X
3121 West March Lane
Stockton, CA 95219
Unknown
AccountNo. Anticipated indemnification claim (Nevada
Security Bank and its Ca|ifornia Division
Robin Orr Silverado Bank)
2455 Telluride Drive - X X
Reno, NV 89511
Unknown
AccountNo. November 17, 2003
Lease of non-residential property at 9990
5310 Kietzke Lane Suite 102 .. $7,814.32/m0|‘|th for 22 months (leSS $7,814.32 X X
Reno, Nv 89511 deP°S't)
(February 2011 through December 2011;
January 2012 through November 2012) 164,100.72
Sheet no. 3 of 4 Sheets attached to Schedule of` Subtotal
_ 164,100.72

Creditors Holding Unsecured Nonpriority Claims

(Total of this page)

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Best Case Bankruptcy

 

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ln re THE BANK HOLD|NGS Case No.

 

 

Debtor

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CREDITOR,S NAME, g Husband,Wife,Joint,orCommunity 8 H ||J
D N L S
W%QHSSGA§B%%SSE E §§ DATE CLAIM WAS INCURRED AND T l P
AND ACCoUNT NUMBE’R § J CONSIDERATION FOR CLAIM~ IF CLAIM 'N 3 ij AMoUNT oF CLAtM
. . 0 0 IS SUBJECT TO SETOFF, SO STATE. G i E
(See instructlons above.) R E D D
N A
AccountNo. Anticipated indemnification claim (Nevada T §
Security Bank and its Ca|ifornia Division D
sheila Grim-Brooks Silverad° Bank)
1485 corson court - X X
Reno, NV 89503
Unknown
AccountNo. Anticipated indemnification claim (Nevada
Security Bank and its Ca|ifornia Division
Tim Ching Silverado Bank)
600 Lassen Way ~ X X
Rosevi|le, CA 95678
Unknown
Account No. June 2005
NNB Holdings Statutory Trust l (inc|udes
Wi|mington Trust Company principal balance of $5,000,000 and equity
Attn: Christopher S|aybaugh, Trustee - debt m the amount of $155'000)
1100 North Market Street
Wi|mington, DE 19890-1600
5,155,000.00
Account No.
Account No.
Sheet no. 4 of 4 sheets attached to Schedule of` Subtotal 5 155 000 00
Creditors Holding Unsecured Nonpriority Claims (Total of this page) ’ ’ '
Total
(Report on Summary of Schedules) 20’783’100'72

 

 

 

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B6G (Official Form 6G) (12/07)

In re THE BANK HOLD|NGS Case No.

 

 

Debtor

SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
of` debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of` a lease. Provide the names and
complete mailing addresses of all other parties to each lease or contract described If` a minor child is a party to one of the leases or contracts
state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
disclose the child's name. See, ll U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

l:l Check this box if debtor has no executory contracts or unexpired leases.

 

Description of` Contract or Lease and Nature of Debtor's lnterest.

 

Name and Maili“g Address» Includng Zip Code> State whether lease is for nonresidential real
. propeity.
OfOther Pames to Lease Or Contract State contract number of any government contract.
RR Bou|evard investments Non-residential lease of corporate office located
5310 Kietzke Lane Suite 102 at 9990 Double R Bou|evard, Reno, NV 89521.
Reno, NV 89511 Lease expires November 30, 2012.

0 .
continuation sheets attached to Schedule of` Executory Contracts and Unexpired Leases
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B6H (Official Form 6H) (12/07)

in re ` THE BANK HOLD|NGS » Case No.

 

 

Debtor

SCHEDULE H - CODEBTORS

Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
by debtor in the schedules of creditors Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
commonwealth, or territory (including Alaska, Arizona, Calif`ornia, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas Washington, or
Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
by the nondebtor Spouse during the eight years immediately preceding the commencement of this case. If` a minor child is a codebtor or a creditor,
state the child'S initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
l] Check this box if` debtor has no codebtors.

 

 

NAME AND ADDRESS OF CODEBTOR NAME AND ADDRESS OF CREDITOR
NNB Ho|dings Statutory Trust| Wi|mington Trust Company

clo Wilmington Trust Company Attn: Christopher J. S|aybaugh, Trustee
Attn: Christopher J. S|aybaugh, Trustee 1100 North Market Street

1100 North Market Street Wi|mington, DE 19890

Wi|mington, DE 19890

The Bank Ho|dings Statutory Trust l Corporate Trust Services

clo Corporate Trust Services Attn: Pau| D. Allen, Trustee

Attn: Paul D. Allen, Trustee One Federal Street, 3rd F|oor

One Federal Street, 3rd Floor Boston, MA 02196

Boston, MA 02196

0
continuation sheets attached to Schedule of Codebtors

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ns mdnr-aron (om¢iai Form 6 - D¢¢imum) (iz/ov)

United States Bankruptcy Court
District of Nevada

In re THE BANK HOLD|NGS Case No.

 

Debtor(s) Chapter 7

DECLARATION CONCERNING DEBTOR'S SCHEDULES

DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSH[P

I, the Chief Financi'al Ofl:“icer of the corporation named as debtor in this case, declare under penalty of

perjury that I have read the foregoing summary and schedules consisting of 16 sheets and that they are true
and correct to the best of my lmowledge, information, and belief.

Date sigimnne Mé%””d/é b ,.

lack `Buc`hol`d
Chlef Flnancla| Officer

Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both
18 U.S.C. §§ 152 and 3571.

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